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                                      CFTC v. THEYE
                                       FINAL ACCOUNTING

RECEIVER'S RECOVERIES:                                    $1,184,178.47

       Gunnarson, Christi             $14,970.83

       Lee, Dr. Harold G.             $400,000.00

      Chough, Karen                   $570,000.00

      Teofilo, Cometa                 $1,343.68

       Estremo, Ciro    & Doreen M.   $6,071.06

      Villanueva, Ferdinand           $10,115.91

      Cruz, Leticia Ruiz De           $7,000.00

      Allen Trust, DTD                $60,000.00

      Hauso, Michael                  $6,773.18

       Hain, Darlene                  $6,550.00

       Rowlands, Josh/Jennifer        $3,500.00

      Storieum, Joshua                $2,500.00

       LeBrun, Eugene                 $15,000.00

      Wassmuth, Don                   $2,000.00

       Park, Audrey/Lynn              $2,000.00

      Sullivan, Karin                 $2,250.00

      Gomez, Jose/Leticia             $1,500.00

      Jorge Jiminez                   $2,771.22

      Leonie Batac,                   $3,250.000

      Jovylen Co-Bermejo,             $275.00

       Famisaran, Aldrich             $1,000.00

       DeMola, Angel                  $6,000.00
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      Rodman, Dave                   $15,802.50   (Withheld from distribution)

      Clerk of Court                 $43A06.05    (Proceeds from sale of Theye house)

      Wells Fargo Bank               $99.04       (Theye's children accounts)

ADMINISTRATIVE EXPENSES:                                         $135,219.83

      RECEIVER'S FEES

              August 27, 2010 to June 25, 1011    $48,720.00

      RECEIVER'S EXPENSES

             August 27, 2010 to June 25, 2011     $ 2A12.98

      RECEIVER'S ATTORNEYS FEES

             August 27, 2010 to June 25, 2011     $62,569.00

      RECEIVER'S ATTORNEYS' EXPENSES

              August 27, 2010 to June 25, 2011    $14,899.08

      RECEIVER'S ACCOUNTING FEES

             August27,2010toJun~2011              $5A50.00

      RECEIVER'S ACCOUNTING EXPENSES

             August 27, 2010 to June, 2011        $1,168.77




      DISTRIBUTION TO INVESTORS:                                 $1,000,000.00

      PAYMENT TO THEYE'S CHILDREN:                               $99.04

      BALANCE:                                                   $48,859.60

      NET BALANCE OF CASH ON HAND                                $48,859.57

      Difference:                                               . ($0.03)
